Case 2:22-cv-01849-PD Document 31. Filed 09/30/22. Page 1 of 63

CBIEROR ETH UNFEED'STA THS SUITELABSPANEL
ON MULTIDISTRICT LITIGATION

MDL No. 2947 & Title - IN RE; Social Media Adolescent Addiction/Personal Injury Product yy

NOTICE OF APPEARANCE

(Appearances should only be entered in compliance with Rule 4.1(c).

PARTIES REPRESENTED (indicate plaintiff or defendant (i.e. Plaintiff Bob Jones)—If representation
includes more than one party, attach a separate list.)

Defendants. See Attachment A.

SHORT CASE CAPTION(s) (Include District and Civil Action No. (i.e. Jones v. Smith Corp., et al., D.
Delaware, 1:14-586)-If party representation includes more than one case, attach a schedule of actions)
NOTE: Include only actions in which you are entering an Appearance.

See Attachment B.

In compliance with Rule 4.1(c), R.P.J.P.M.L., 199 F.R.D. 425, 431 (2001), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers relating to practice before
the United States Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. Iam
aware that only one attorney can be designated for each party.

September 26, 2022 /s/ Albert Giang

Date Signature of Attorney or Designee

Albert Giang, King & Spalding LLP, 633 West Fifth

Name and Address of Designated Attorney: Street, Suite 1600, Los Angeles, CA 90071

Telephone No.: 213-443-4355 Fax No.; 213-443-4310

Email Address: agiang@kslaw.com

Instructions:

1, From the JPML home page, download Notice of Appearance. Fill out form and save in .pdf format. (All documents filed with the Judicial Panel must be in PDF Format.)
The Appearance Form is to be filed as the main PDF document. Any documents submitted with the Appearance Form are attachments.

2. Select MDL from the menu bar at the top of the ECF screen,

3. Click on Notices. Select the appropriate Notice of Appearance. Select Next.

4. Enter the three or four digit MDL number (ex. 875). Select Next.

5. Verify MDL number, if correct Select Next.

6. Choose the case(s) for which the Appearance is being filed. Select Next.

7, Select Party. Select next twice.

8. Upload the Appearance Form as the Main document and all other documents as attachments. Be sure to choose a category and description. Select the document to which

the Appearance relates, (N ote: Appearances filed in new litigations will be linked to the initial Motion for Transfer and Appearances filed in transferred litigations should be
linked to the Conditional Transfer Order (CTO).

9. Select the next button and verify docket text. If correct continue to select next to complete the transaction.
JPML Form 18

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Case MDL No. 3047. Document 107-1. Filed 09/26/22 Page 1 of 1

ATTACHMENT A

BEFORE THE UNITED STATES JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY
PRODUCT LIABILITY LITIGATION

MDL DOCKET NO. 3047

PARTIES REPRESENTED

Defendant

ByteDance Inc.

Defendant

TikTok Inc.

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Case MDL No. 3047. Document 107-2. Filed 09/26/22 Page 1of5

BEFORE THE UNITED STATES JUDICIAL
PANEL ON MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY
PRODUCT LIABILITY LITIGATION

ATTACHMENT B

Personal Representative of the
Estate of Englyn Roberts

Defendants(s):

Meta Platforms, Inc.,
formerly known as Facebook,
Inc., Snap, Inc., TikTok Inc.,
and

MDL DOCKET NO. 3047
SCHEDULE OF ACTIONS
Case Caption Court Action No. _ Judge |
Plaintiff(s): U.S. District Court 4:22-cv-04210 | Yvonne Gonzalez
Brandy Roberts and Toney Northern District of Rogers
Roberts, individually, and California (Oakland
Brandy Roberts, as the Division)

ByteDance Inc.
Plaintiff(s): USS, District Court — 3:22-cv-00401 | James Donato
Tammy Rodriguez, Northern District of

individually and as the
Personal Representative of the
Estate of Selena Rodriguez

Defendant(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc., Snap,
Inc., TikTok Inc., ByteDance
Inc.

California (San Francisco
Division)

Plaintiff(s): U.S. District Court 1:22-cv-02173 | Robert
Darla Gill, individually and as | Western District of Summerhays
the Personal Representative of | Louisiana (Alexandria

the Estate of Emma Claire Division)

Gill, and Joseph Ryan Gill,
individually

Case 2:22-cv-01849-PD. Document 31. Filed 09/30/22 Page 4 of 63

Case MDL No. 3047. Document 107-2. Filed 09/26/22 Page 2 of 5

Case Caption _

Court .

Civil _
Action No.

Judge

Defendant(s):

Meta Platforms, Inc.,
formerly known as
Facebook, Inc., Snap, Inc.,
TikTok Inc., and
ByteDance Inc.

Plaintiff(s):

Damian Johnson, individually
and as next of friend to minor
plaintiffs K.L.J., K.A.J., and
LAI.

Defendants(s):

Meta Platforms, Inc., formerly
known. as Facebook, Inc.;
YouTube, LLC; Google LLC;
Alphabet Inc.; Snap, Inc.;
TikTok Inc.; ByteDance Inc.

U:S. District Court
Central District of Illinois
(Peoria Division)

1:22-cv-01260

Michael M: Mihm

Plaintiff(s):

M.C., individually and as next
of friend to minor plaintiff
M.B.

Defendants(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc.;
YouTube, LLC; Google LLC;
Alphabet Inc.; Snap, Inc.;
TikTok Inc.; ByteDance Inc.

U:S. District Court
Northern District of
California (Oakland
Division)

4:22-cv-04529

Jon S. Tigar

Plaintiff(s):
T.K., individually and as next
of friend to minor plaintiff S.R.

Defendants(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc.;
Snap, Inc.; TikTok Inc.;
ByteDance Inc.

U.S. District Court
Northern District of
California (San Francisco
Division)

3:22-cv-04588

James Donato

Plaintiff(s):

Jolene Youngers, as personal
representative of the wrongful
death estate of L-K., a
deceased minor child; Ar. K.;
An. K.

Defendants(s):
Meta Platforms, Inc., formerly
known as Facebook, Inc.; Snap,

U.S. District Court
District of New Mexico
(Albuquerque Division)

1:22-cv-00608

Kea W. Riggs

Case 2:22-cv-01849-PD ._Document 31. Filed 09/30/22. Page 5 of 63

Case MDL No. 3047. Document 107-2. Filed 09/26/22 Page 3of5

_ Case Caption

Court

| Civil
‘Action No.

J udge

Inc.; ByteDance Inc.; TikTok
Inc.; Skyler Stanford; Saul
Rodarte; Adam Anaya

Plaintiff(s):
C.C., individually and as next
of friend to minor.C.L.

Defendants(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc.;
Snap Inc.; TikTok Inc.;
ByteDance Inc.

U.S. District Court
Northern District of
California (Oakland
Division)

4:22-cv-04709

Yvonne Gonzales
Rogers

Plaintiff(s):
J.H., individually and as next off
friend to minor plaintiffs NR.
and A.M.

Defendants(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc.;
YouTube, LLC; Google LLC;
Alphabet Inc.; Snap Inc.;
TikTok Inc.; ByteDance Inc.

U.S. District Court
Northern District of
California (Oakland
Division)

4:22-cv-04710

Haywood 8.
Gilliam, Jr.

Plaintiff(s):

L.A.T., individually and as next
of friend to minor plaintiffs
P.T. and L.T.

Defendants(s):

Meta Platforms, Inc., formerly
known as Facebook, Inc.;
YouTube LLC; Google LLC;
Alphabet Inc.; TikTok Inc.;
ByteDance Inc.

U.S. District Court
Northern District of
California (Oakland
Division)

4:22-cv-04937

Haywood S.
Gilliam, Jr.

Plaintiff(s):
T.R., individually and as next
friend to minor child E.R.

Defendants(s):
Meta Platforms, Inc., formerly
known as Facebook, Inc.;

U.S. District Court
Northern District of
California (San Francisco
Division)

3:22-cv-04712

Jacqueline Scott
Corley

Snap Inc.; TikTok Inc.;

ByteDance Inc.

Plaintiff(s): US. District Court 3:22-cv-04528 | Trina L.
E.W., as next of friend to minor} Northern District of Thompson

plaintiff Z.W.

California (San Francisco
Division)

3

Case 2:22-cv-01849-PD Document 31. Filed 09/30/22. Page 6 of 63

Case MDL No. 3047. Document 107-2 Filed 09/26/22 Page 4 of5

oe Civil |
_Case Caption _ Court. Action No, Judge _
Defendant(s):
YouTube, LLC; Google LLC;
Alphabet Inc.; Snap, Inc.;
TikTok Inc.; ByteDance Inc.
Plaintiff(s): U.S. District Court 3:22-cv-04533 | Maxine M.
J.M. and D.M. Northern District of Chesney
California (San Francisco
Defendant(s): ByteDance Inc.; | Division)
TikTok Inc.; Snap, Inc.
Plaintiff(s): U.S. District Court 2:22-cv-05309 | Esther Salas

S.R., individually and as next
of friend to minor plaintiff L.S.

Defendant(s):

Meta Platforms, Inc.; formerly
known as Facebook, Inc.; Snap,
Inc.; TikTok Inc.; ByteDance
Inc.

District of New Jersey
(Newark Division)

Plaintiff(s):

Tawainna Anderson,
individually and as
Administratrix of the Estate of
Nylah Anderson, a deceased
minor

U.S. District Court
Eastern District of
Pennsylvania
(Philadelphia Division)

2:22-cv-01849

Paul S. Diamond

Defendant(s):

TikTok Inc. and ByteDance Inc.

Plaintiff(s): U.S. District Court 1:22-cv-00706 | John F.
Jolene Youngers, as personal | District of New Mexico Robbenhaar

representative of the wrongful
death estate of I.G., a deceased
minor child, M.G., A.G., and
E.A.

Defendant(s):
ByteDance Inc. and TikTok Inc.

(Albuquerque Division)

Case 2:22-cv-01849-PD Document 31 Filed 09/30/22 Page 7 of 63

Case MDL No. 3047. Document 107-2. Filed 09/26/22. Page 5 of 5

Dated: September 26, 2022

Respectfully submitted,

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Counsel for TikTok Inc. and ByteDance Inc.

Case 2:22-cv-01849-PD Document 31. Filed 09/30/22 Page 8 of 63

Case MDL No. 3047 Document 107-3. Filed 09/26/22 Page 1 of 6

BEFORE THE UNITED STATES JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY

PRODUCT LIABILITY LITIGATION
MDL DOCKET NO. 3047

PROOF OF SERVICE

[hereby certify that on September 26, 2022, I caused a copy of the foregoing Notice of
Appearance, Parties Represented, Schedule of Actions, and this Proof of Service to be filed with
the Court’s CM/ECEF system, which sends a service copy to all counsel in the action at their

associate email addresses.

In addition, I hereby certify that on September 26, 2022, I caused true and correct copies
of those filings to be served by email or U.S. First Class Mail on the following:

Clerks of the Courts

Via U.S. First Class Mail

Northern District of California Western District of Louisiana
Phillip Burton Federal United States Courthouse
Building & United States 515 Murray Street, Suite 105
Courthouse Alexandria, LA 71301

450 Golden Gate Avenue, 16th Floor
San Francisco, CA 94102

Central District of Illinois District of New Mexico

305 U.S. Courthouse 106 S. Federal Place

100 N.E. Monroe Street Santa Fe, NM 87501

Peoria, IL 61602

Eastern District of Pennsylvania District of New Jersey

James A. Byrne U.S. Courthouse Martin Luther King Building
601 Market Street & U.S. Courthouse
Philadelphia, PA 19106 50 Walnut Street, Room 4015

Newark, NJ 07101

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Attorneys for Plaintiffs:

No. 3:22-cv-00401 (N.D. Cal.)
No. 4:22-cv-04210 (N.D. Cal.)
No. 1:22-cv-02173 (W.D. La.)
No. 1:22-cv-01260 (C.D. Ill.)
No. 4:22-cv-04529 (N.D. Cal.)
No. 3:22-cv-04588 (N.D. Cal.)
No. 4:22-cv-04709 (N.D. Cal.)
No. 4:22-cv-04710 (N.D. Cal.)
No. 4:22-cv-04937 (N.D. Cal.)
No. 3:22-cv-04712 (N.D. Cal.)
No. 3:22-cv-04528 (N.D. Cal.)
No. 3:22-cv-04533 (N.D. Cal.)
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No. 3:22-cv-04588 (N.D. Cal.)
No. 4:22-cv-04709 (N.D. Cal.)
No. 4:22-cv-04710 (N.D. Cal.)
No. 4:22-cv-04937 (N.D. Cal.)
No. 3:22-cv-04712 (N.D. Cal.)
No. 3:22-cv-04528 (N.D. Cal.)
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Case 2:22-cv-01849-PD Document 31. Filed 09/30/22. Page 10 of 63

Case MDL No. 3047. Document 107-3 Filed 09/26/22 Page 3 of 6

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Case 2:22-cv-01849-PD Document 31. Filed'09/30/22. Page 11 of 63

Case MDL No. 3047. Document 107-3. Filed 09/26/22 Page 4 of 6

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Case 2:22-cv-01849-PD.. Document 31. Filed 09/30/22. Page 12 of 63

Case MDL No. 3047. Document 107-3. Filed 09/26/22 Page 5 of 6

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Case 2:22-cv-01849-PD.. Document 31. Filed 09/30/22 Page 13 of 63

Case MDL No. 3047, Document 107-3. Filed 09/26/22 Page 6 of 6

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Dated: September 26, 2022 Respectfully submitted,

/s/ Albert O. Giang

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Counsel for TikTok Inc. and ByteDance Inc.

Case 2:22-cv-01849-PD. Document 31. Filed 09/30/22 Page 14 of 63

Case MDL No. 3047. Document 106. Filed 09/23/22 Page 1 of 2

BEFORE THE UNITED STATES JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY

PRODUCT LIABILITY LITIGATION
MDL DOCKET NO. 3047

NOTICE OF RELATED ACTIONS

In accordance with Rule 6.2(d) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, Defendants TikTok Inc. and ByteDance Inc. write to notify

the Clerk of the Panel of the related action listed in the attached Schedule of Actions (Exhibit
A).!

Dated: September 23, 2022 Respectfully submitted,

/s/ Albert O. Giang

Albert Q. Giang

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Geoffrey M. Drake

Georgia Bar No. 229229

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Andrea Roberts Pierson

Indiana Bar No. 18435-49

Patrick H. Reilly

Indiana Bar.No. 28739-49

FAEGRE DRINKER BIDDLE & REATH LLP

‘In identifying the potential related action(s), Defendants preserve all available defenses,
including defenses related to the lack of, or deficient, service.

Case 2:22-cv-01849-PD Document 31. Filed 09/30/22. Page 15 of 63.

Case MDL No. 3047. Document 106. Filed 09/23/22 Page 2 of 2

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Counsel for TikTok Inc..and ByteDance Inc.

Case 2:22-cv-01849-PD Document 31 Filed 09/30/22 Page 16 of 63

Case MDL No. 3047. Document 106-1 Filed 09/23/22 Page 1 of 2

Exhibit A

Case 2:22-cv-01849-PD. Document 31: Filed 09/30/22. Page. 17 of 63

IN RE: SOCIAL MEDIA ADOLESCENT

Case MDL No. 3047. Document 106-1 Filed 09/23/22 Page 2 of 2

BEFORE THE UNITED STATES JUDICIAL
PANEL ON MULTIDISTRICT LITIGATION

ADDICTION/PERSONAL INJURY

PRODUCT LIABILITY LITIGATION

MDL DOCKET NO. 3047

SCHEDULE OF ACTIONS
Exhibit _ Civil
No. Case Caption Court Action No, Judge _
A-i.| Plaintiff(s): U.S. District Court 1:22-cv-00706 [Assignment
Jolene Youngers, as personal | District of New Mexico Pending]

representative of the
wrongful death estate of I.G.,
a deceased minor child,
M.G., A.G., and E.A.

Defendant(s):
ByteDance Inc. and TikTok
Inc.

(Albuquerque Division)

Case 2:22-cv-01849-PD _ Document 31. Filed 09/30/22 Page 18 of 63

Case MDL No. 3047 Document 106-2. Filed 09/23/22 Page 1 of 6

BEFORE THE UNITED STATES JUDICIAL PANEL
ON MULTIDISTRICT LITIGATION

IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY
PRODUCT LIABILITY LITIGATION
MDL DOCKET NO. 3047

PROOF OF SERVICE

I hereby certify that on September 23, 2022, I caused a copy of the foregoing Notice of
Related Actions, Schedule of Actions and accompanying exhibit, and this Proof of Service to be
filed with the Court’s CM/ECF system, which sends a service copy to all counsel in the action
at their associate email addresses.

In addition, I hereby certify that on September 23, 2022, I caused true and correct copies
of those filings to be served by email or U.S. First Class Mail on the following:

Clerks of the Courts

Via U.S. First Class Mail

Northern District of California Western District of Louisiana
Phillip Burton Federal United States Courthouse
Building & United States 515 Murray Street, Suite 105
Courthouse Alexandria, LA 71301

450 Golden Gate Avenue, 16th Floor

San Francisco, CA 94102

Central District of Illinois District of New Mexico

305 U.S. Courthouse 106 S. Federal Place

100 N.E. Monroe Street Santa Fe, NM 87501

Peoria, IL 61602

Eastern District of Pennsylvania District of New Jersey

James A. Byrne U.S. Courthouse Martin Luther King Building
601 Market Street & U.S. Courthouse
Philadelphia, PA 19106 50 Walnut Street, Room 4015

Newark, NJ.07101

Case 2:22-cv-01849-PD. Document 31. Filed 09/30/22. Page 19 of 63

Case MDL No. 3047. Document 106-2 Filed 09/23/22 Page 2 of 6

Attorneys for Plaintiffs:

No. 3:22-cv-00401 (N.D. Cal.)
No. 4:22-cv-04210 (N.D. Cal.)
No. 1:22-ev-02173 (W.D. La.)
No. 1:22-cv-01260 (C.D. IIL.)
No. 4:22-cv-04529 (N.D. Cal.)
No. 3:22-ev-04588 (N.D. Cal.)
No. 4:22-cv-04709 (N.D. Cal.)
No. 4:22-cv-04710 (N.D. Cal.)
No. 4:22-cv-04937 (N.D. Cal.)
No. 3:22-ev-04712 (N.D. Cal.)
No. 3:22-cv-04528 (N.D. Cal.)
No. 3:22-ev-04533 (N.D. Cal.)
No, 2:22-cv-05309 (D.N.J.)
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No. 3:22-cv-04588 (N.D. Cal.)
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No. 4:22-cv-04710 (N.D. Cal.)
No. 4:22-ev-04937 (N.D. Cal.)
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Case MDL No. 3047. Document 106-2. Filed 09/23/22 Page 3 of 6

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Case MDL No. 3047. Document 106-2 Filed 09/23/22 Page 5 of 6

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Exhibit A-1

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FILINGFEEDUE

USS. District Court

United States District Court - District of New Mexico (Albuquerque)

CIVIL DOCKET FOR CASE #: 1:22-cv-00706

YOUNGERS, AS A PERSONAL REPRESENTATIVE OF THE Date Filed: 09/23/2022
WRONGFUL DEATH ESTATE OF I.G. A DECEASED MINOR | Jury Demand: None
CHILD, M.G., A.G., AND E.A. v. ByteDance Inc. et al Nature of Suit: 245. Tort Product Liability

Assigned to:

Jurisdiction: Diversity

Case in other court: First Judicial District Court, D-101-CV-22-

01441

Cause: 28:1441 Petition for Removal

Plaintiff

JOLEEN YOUNGERS, AS A
PERSONAL REPRESENTATIVE OF
THE WRONGFUL DEATH ESTATE OF
1G. A DECEASED MINOR CHILD,

represented by JOLEEN YOUNGERS, AS A
PERSONAL REPRESENTATIVE OF
THE WRONGFUL DEATH ESTATE OF
1.G. A DECEASED MINOR CHILD,

M.G., A.G., AND E.A. M.G., A.G., AND E.A.
PRO SE

V.

Defendant

ByteDance Inc. represented by Meghan Dimond Stanford

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ATTORNEY TO BE NOTICED
Defendant
TikTok Inc. represented by Meghan Dimond Stanford
(See above for address)
ATTORNEY TO BE NOTICED
Date Filed # | Docket Text
09/23/2022 1 | NOTICE OF REMOVAL by ByteDance Inc., TikTok Inc. from First Judicial District Court,

case number D-101-CV-2022-01441. ( Filing Fee - Online Payment), filed by ByteDance
Inc., TikTok Inc.. (Attachments: # 1 Civil Cover Sheet, # 2 Exhibit 1, #3 Exhibit 2, #4
Exhibit 3)(Stanford, Meghan) (Entered: 09/23/2022)

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STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT

JOLEEN YOUNGERS,

AS PERSONAL REPRESENTATIVE
OF THE WRONGFUL DEATH ESTATE
OF 1.G. A DECEASED MINOR CHILD,
M.G., A.G., AND E.A.

Plaintiffs,

VS.

TIKTOK, INC. AND BYTEDANCE, INC.

Defendants

FILED 1st JUDICIAL DISTRICT COURT
Santa Fe County

8/9/2022 7:16.PM

KATHLEEN VIGIL CLERK OF. THE COURT
Kayla Vigil

Case No.: _D-101-CV-2022-01441
Judge: Case assigned to Biedscheid, Bryan

COMPLAINT

“[Wle must hold social media platforms accountable for the national experi-
ment they’re conducting on our children for profit.”

President Joe Biden, March 1, 2022, State of the Union Address.

COMES NOW, Plaintiff, Joleen Youngers, as the personal representative of the wrongful

death estate of LG., as well as M.G., A.G., and, E.A. (collectively, “Plaintiffs”), by and through

their undersigned counsel, complaining of TikTok, Inc. and ByteDance, Inc. (collectively the “Tik-

Tok Defendants”), and for their causes of action state:

INTRODUCTION

1. This case is about the dangerous, and often deadly, social media product known as TikTok.

The TikTok Defendants are the owners, designers, programmers, manufacturers, sellers,

and/or distributors of the TikTok App. The TikTok Defendants’ business model is to ad-

dict millions of children to their product in order to generate billions of dollars selling

targeted advertising.

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In their rush to cash in on advertising revenues, the TikTok Defendants designed and dis-
tributed a dangerously defective product to millions of children. TikTok’s design features
and lack of safeguards encourage children to engage in dangerous behaviors with deadly
consequences (like choking themselves until they pass out). Despite knowing that TikTok
encouraged impressionable children to engage in dangerous and deadly behaviors, the Tik-
Tok Defendants did nothing to correct their defective product and have instead unleashed

a wave of death for young children, ranging in age from 8 year olds to teenagers.

One of the TikTok Defendants’ victims was a handsome 13 year old boy from New Mexico
named L.G. In the early morning hours of August 19, 2020, IG. died by accidentally hang-
ing himself with a belt while attempting to accomplish the infamous TikTok Blackout
Challenge — attempting to choke himself until he passed out. I.G.’s attempt at the Blackout

Challenge proved fatal.

1.G.’s family members (including his grandmother, E.A.) discovered I.G. hanging on the
backside of the bathroom door by a belt wrapped around his neck. They forced their way

into the bathroom and rushed to get 1.G. down by using scissors to cut the belt off his neck.

After cutting off the belt, E.A. could hear 1.G.’s faint heartbeat. She frantically provided
CPR and cried out for I.G. to come back and to live. After several attempts at CPR, LG.
gasped a final time, but E.A. could not revive him. E.A. laid on the floor next to her thir-
teen-year old grandson and held him. By the time the police and paramedics arrived, I.G.

was pronounced dead.

During these events, I.G.’s phone was discovered in the bathroom, when an alarm or timer

began sounding. Based on this timer, as well as 1.G.’s documented history of attempting

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TikTok challenges, there is no question that 1.G.’s death was a result of him attempting a
TikTok Blackout Challenge — something the TikTok Defendants have known about for

years but refused to protect children from until very recently.

The TikTok Defendants purposefully designed TikTok with features that create and sustain
addiction in their users, including children. Using defective automated algorithms and dig-
ital psychological features in their product such as likes, hearts, direct messages, notifica-
tions, and reminders, the TikTok Defendants manipulate children to be on TikTok at all
hours of the day and night and to engage in a repetitive and dopamine-driven feedback loop

of viewing, watching, sharing, and liking videos.

TikTok’s defective design features (and the lack of adequate safeguards and warnings in
the product) allow children (who are too young to be on TikTok in the first place) to create
and use multiple TikTok accounts. TikTok’s defective design features and algorithm also
constantly remind young children users to get back on TikTok if they have gotten off the

app for a period of time deemed unacceptable by TikTok.

The TikTok Defendants and their defective product encourage children to engage in variety
of dangerous behaviors such as being on TikTok for hours on end, being on TikTok at all
hours of the night, and attempting dangerous and potentially deadly TikTok challenges
such as choking oneself until passing out. The TikTok Defendants knew such behaviors
resulted in mental health problems, sleep deprivation, serious personal injury, and even
death. The TikTok Defendants have known about these dangers for years, but have failed

to protect users such as 1.G. and many others from such dangers.

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Plaintiffs bring this case against the TikTok Defendants to hold them accountable for the
predictable and known consequences of their experiment on America’s youth. The TikTok
Defendants hooked I.G. on their dangerously defective product and failed to include safe-
guards in the design of their product that could have saved L.G.’s life. Despite knowing
their product encouraged dangerous behaviors, the TikTok Defendants failed to provide

any warnings or safeguards that could have prevented 1.G.’s death.

Plaintiffs do not seek to hold any of the TikTok Defendants liable as the speaker or pub-
lisher of third-party content or for their good faith efforts to limit exposure to third party
content: instead, Plaintiffs seek to hold each of the TikTok Defendants responsible for its
own independent conduct as designers, programmers, manufacturers, sellers, and/or dis-
tributors of their dangerously defective social media product and for their own independent
intentional and negligent acts as further alleged herein. As a result, Plaintiffs’ claims fall
outside any limitations of liability under by Section 230(c) of the Communications De-

cency Act.

PARTIES
LG. was a minor resident of Polvadera, Socorro County, New Mexico. On August 19, 2020,
at the age of thirteen, I.G. accidentally hung himself while attempting a TikTok blackout

challenge.

Joleen K. Youngers is an attorney in Santa Fe, New Mexico, who is the court appointed
personal representative of the wrongful death estate of I.G. and brings claims on behalf of
the estate. Joleen Youngers, in her capacity as the personal representative of the wrongful

death estate of I.G., has not entered into a Terms of Service agreement or other contractual

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relationship with TikTok, Inc. or ByteDance, Inc. in connection with 1.G.’s use of TikTok.
Consequently, Plaintiffs are not bound by arbitration, class action waiver, or any other pro-
visions set forth in any Terms of Service agreement that I.G. may have entered. Addi-
tionally, as the personal representative of the wrongful death estate of 1.G., Joleen K.
Youngers and all other Plaintiffs expressly disaffirm any and all Terms of Service agree-

ments with TikTok which I.G. may have entered.

MG. is an individual resident of Polvadera, Socorro County, New Mexico. M.G. is LG.’s

father and is bringing an individual claim for loss of consortium.

AG. isan individual resident of Polvadera, Socorro County, New Mexico. A.G. is 1.G.’s

mother and is bringing an individual claim for loss of consortium.

E.A. is an individual resident of Polvadera, Socorro County, New Mexico. E.A. is LG.’s
grandmother and is bringing individual claims for loss of consortium and for negligent

infliction of emotional distress.

Defendant TikTok, Inc. is a California corporation with its principal place of business lo-
cated in Culver City, California. TikTok, Inc. owns and operates the TikTok social media
platform, an application and product that is widely marketed by TikTok and available to
users throughout the United States. TikTok, Inc. does business in the State of New Mexico
but has not been admitted to do business in this state. TikTok, Inc. has not designated and
does not maintain a statutory agent upon whom service of process may be had. Accord-
ingly, Pursuant to NMSA 1978, Section 38-1-6 (1993), service of process may be obtained

by serving the New Mexico Secretary of State with two copies of the process in this cause.

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The New Mexico Secretary of State will then complete service by serving Defendant Tik-
Tok, Inc.’s registered agent for service of process in California: CSC Lawyers Incorporat-.

ing Service at 2710 Gateway Oaks Dr., Suite 150N, Sacramento, CA 95833.

At all times relevant, TikTok, Inc. was acting by and through its employees, servants,
agents, workmen, and/or staff, all of whom were acting within the course and scope of their

employment, for and on behalf of TikTok, Inc.

ByteDance, Inc. is a Delaware corporation with a principal place of business at 250 Bryant
Street, Mountain View, California 94041. ByteDance, Inc. does business in the state of
New Mexico but has not been admitted to do business in this state and has not designated
and does not maintain a statutory agent upon whom service of process may be had. Ac-
cordingly, Pursuant to NMSA 1978, Section 38-1-6 (1993), service of process may be ob-
tained by serving the New Mexico Secretary of State with two copies of the process in this
cause. The New Mexico Secretary of State will then complete service by serving Defendant
ByteDance, Inc.’s registered agent for service of process in Delaware: Corporation Service

Company, 251 Little Falls Drive, Wilmington, Delaware 19808.

At all times relevant, TikTok, Inc. was acting by and through its employees, servants,
agents, workmen, and/or staff, all of whom were acting within the course and scope of their

employment, for and on behalf of TikTok, Inc.

TikTok, Inc. is highly integrated with its Chinese parent corporation, ByteDance. TikTok,
Inc.’s engineering manager works on both TikTok and ByteDance’s similar Chinese app,
Douyin. TikTok’s development processes are closely intertwined with Douyin’s pro-

cesses. TikTok’s employees are also deeply interwoven and connected with ByteDance’s

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ecosystem. Both corporations and their employees use a ByteDance product called Lark,
a corporate internal communication system like Slack but with aggressive performance -

management features aimed at forcing employees to utilize the system at all times.

Collectively, TikTok, Inc. and ByteDance, Inc. are referred to herein as the “TikTok De-

fendants.”

JURISDICTION AND VENUE
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as through set forth fully herein.
This Court has subject matter jurisdiction over this case.
This Court has personal jurisdiction over each of the Defendants.

The TikTok, Inc. and Bytedance, Inc. Defendants do business in New Mexico and have
purposefully availed themselves of the privilege of conducting activities within New Mex-
ico, and each has sufficient minimum contacts with New Mexico such that this Court’s
exercise of personal jurisdiction over each social media defendant comports with due pro-

cess.

1G. downloaded and used the TikTok app in New Mexico. While I.G. used TikTok in New
Mexico, the TikTok Defendants were in direct communication with I.G. The TikTok De-
fendants were sending information to I.G. and collecting information about IG. while he
was in New Mexico. While I.G. used TikTok in New Mexico, the TikTok Defendants tai-

lored 1.G.’s interactions on TikTok and controlled his use of TikTok based on information

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the TikTok Defendants collected from I.G, while he was in New Mexico. The TikTok De-
fendants used the information they collected about 1.G. to target ads for I.G. to see while

he used TikTok in New Mexico.

Upon information and belief, hundreds of thousands of New Mexicans have downloaded

and used the TikTok app in New Mexico. While those New Mexicans used TikTok in New

Mexico, the TikTok Defendants were in direct communication with them. The TikTok De-
fendants were sending information to their New Mexican users and collecting information
about those same New Mexican users while they were in New Mexico. While New Mexi-
cans used TikTok in New Mexico, the TikTok Defendants tailored their interactions on
TikTok and controlled their use of TikTok based on information the TikTok Defendants
collected about their New Mexican users. The TikTok Defendants also targeted ads for
their New Mexico users to see based on information the information the TikTok Defend-
ants collected about their New Mexican users while those same New Mexicans used Tik-

Tok in New Mexico.
Venue is proper in Santa Fe County pursuant to N.M.S.A § 38-3-1.

AMOUNT IN CONTROVERSY

The amount in controversy in this case is in excess of $75,000.

FACTUAL ALLEGATIONS

A. The TikTok Defendants Are Multibillion Dollar Social Media Corpo-
rations Whose Purpose Is To Collect User Data, Manipulate User Be-
havior, And Sell Billions Of Dollars Of Targeted Advertising

The TikTok app is ostensibly a video sharing social media platform which allows and en-

courages users to create, share, and view short video clips. But the TikTok app is also a

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highly sophisticated product which collects massive amounts of data from TikTok users.
It does so in order to manipulate user behavior and thereby sell billions of dollars of adver-
tising targeted towards the very users (including children) from whom it continuously col-

lects data.

TikTok users, including minor children, who open the TikTok app are confronted with an
endless stream of curated videos selected by the TikTok Defendants’ proprietary algorithm
and shown to users on their For You Page which is a “defining feature of the TikTok plat-

form[.]?!

According to the TikTok Defendants, the For You Page is “central to the TikTok experi-

ence and where most of our users spend their time.”?

The TikTok Defendants’ algorithm selects which videos are shown to each user based on
the user’s demographics, including age, user interactions such as the videos viewed and
shared, and seemingly limitless amounts of metadata tied to each user’s digital presence

and device settings which is collected and analyzed by the TikTok Defendants.

The TikTok Defendants’ algorithm “delivers content to each user that is likely to be of
interest to that particular user.”? The TikTok Defendants boast that “while different people
may come upon some of the same standout videos, each person’s feed is unique and tai-

lored to that specific individual.”*

1 https://newsroom.tiktok.com/en-us/how-tiktok-recommends-videos-for-you/

? Id.
3 Id.
Ud.

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The TikTok Defendants claim that their algorithm is “designed with safety as a considera-

tion.”

In actuality, the TikTok Defendants’ app and algorithm are designed to maximize user
engagement and increase corporate profits. According to recent media reports, the TikTok
Defendants’ and their app and algorithm have been wildly successful at accomplishing

these goals.

The TikTok app is one of the world’s fastest-growing social media products. It is a “global

phenomenon” with a massive American audience.

In November 2019, the Washington Post reported that the TikTok app had been down-
loaded more than 1.3 billion times worldwide and more than 120 million times in the Unites

States.

Alarmingly, recent estimated age demographics show that a staggering 28 percent of Tik-

Tok’s users are children under the age of 18.

In 2021, the TikTok Defendants reported that TikTok had one billion active global users

and revenues of $4.6 billion.

Virtually all of the $4.6 billion dollars of revenue generated by TikTok is the result of

extensive data collection and the selling of targeted advertising

The current estimated value of the TikTok Defendants’ social media / data collection /

targeted advertising product is between $50 and $75 billion dollars.

B. TikTok Is Designed To Addict, Manipulate, And Ultimately Control
The Behavior of Children

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TikTok is a social media product designed to be used by children and actively marketed to
children across the United States and in New Mexico. TikTok knows that large numbers
of children under the age of 13 use its product despite Terms of Use which purport to

restrict use to individuals who are 13 and older.

TikTok markets to minor children not only through its own efforts but also works with and
actively encourages advertisers to create ads targeted at and appealing to teens, and even
to children under the age of 13. TikTok spends millions of dollars researching, analyzing,
and experimenting with young children to find ways to make its product more appealing
and addictive to these age groups, as these age groups are seen as the key to TikTok’s long

term profitability and market dominance.

TikTok is aware that large numbers of children under the age of 18 use its product without
parental consent. It designs its product in a manner that allows and/or does not prevent

such use in order to increase user engagement and, thereby, increase its own profits.

TikTok is also aware that large numbers of children under the age of 13 use its product
despite Terms of Service which purport to restrict use to individuals who are 13 and older.
The TikTok Defendants designed its product in a manner that allows and/or does not pre-

vent such use in order to increase user engagement and, thereby, increase its own profits.

Furthermore, even in instances where the TikTok Defendants have actual or constructive
knowledge of underage users opening accounts, posting, and otherwise using its social me-
dia product, the TikTok Defendants fail to prevent and protect against such harmful under-

age use.

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Thus, the TikTok Defendants prey upon vulnerable children users who are thrust into a
never-ending dopamine feedback loop which creates addiction and encourages children to
engage in the dangerous behaviors of using TikTok for too many hours each day, using
TikTok too late at night when they should be sleeping, and engaging in TikTok challenges

which are known to cause serious injury and even death.

Children are particularly susceptible to TikTok’s manipulative algorithm and have dimin-
ished capacity to avoid self-destructive behaviors. The human brain is still developing
during adolescence in ways consistent with adolescents’ demonstrated psychosocial imma-
turity. Specifically, adolescents’ brains are not yet fully developed in regions related to

risk evaluation, emotional regulation, and impulse control.

The frontal lobes, and in particular the pre-frontal cortex, of the brain play an essential part
in the higher order cognitive functions, impulse control and executive decision-making.
These regions of the brain are central to the process of planning and decision-making, in-
cluding the evaluation of future consequences and the weighing of risk and reward. They
are also essential to the ability to control emotions and inhibit impulses. MRI studies have

shown that the pre-frontal cortex is one of the last regions of the brain to mature.

During childhood and adolescence, the brain is maturing in at least two ways. First, the
brain undergoes myelination, the process through which the neural pathways connecting
different parts of the brain become insulated with white fatty tissue called myelin. Second,
during childhood and adolescence, the brain is undergoing “pruning” - the pairing away of
unused synapses, leading to more efficient neural connections. Through myelination and

pruning, the brain’s frontal lobes change to help the brain work faster and more efficiently,

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improving the executive functions of the frontal lobes, including impulse control and risk
evaluation. This shift in the brain’s composition continues throughout adolescence and

into young adulthood.

In late adolescence, important aspects of brain maturation remain incomplete, particularly
those involving the brain’s executive functions and the coordinated activity regions in-
volved in emotion and cognition. As such, the part of the brain that is critical for impulses
and emotions and mature, considered decision-making is still developing during adoles-
cence consistent with the demonstrated behavioral and psychosocial immaturity of juve-

niles.

The algorithms in TikTok’s social media product exploit minor users diminished decision-
making capacity, impulse control, emotional maturity, and psychosocial resiliency caused
by minor users’ incomplete brain development. The TikTok Defendants know, or in the
exercise of reasonable care should know, that because its minor users’ frontal lobes are not
fully developed, such users are much more likely to sustain serious physical and psycho-
social harm through their social media use than adult users. Nevertheless, the TikTok De-
fendants failed to design the TikTok product with adequate protections to account for and

ameliorate the psychosocial immaturity of its minor users.

Unfortunately for children users of TikTok in the United States and in New Mexico, the
TikTok Defendants’ primary focus has been on the goals of user engagement, data collec-

tion, targeted advertising sales, and making billions of dollars.

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56. To make matters even worse, the COVID-19 pandemic accelerated the use of TikTok by
children. In 2020, a staggering 81 percent of 14-to-22-year-olds reported using social me-

dia either “daily” or “almost constantly.”

57. To date, the TikTok Defendants have shirked all their safety responsibilities for the health

and safety of very children the TikTok Defendants seek to exploit.

58. A July 2021 report titled Pathways: How digital design puts children at risk, published by
5Rights Foundation detailed “alarming and upsetting” results from interviews with digital
designers and children which lays bare how the commercial objectives of digital social
media companies, like TikTok, translate into design features that negatively impact chil-

dren.

59, The Pathways report shockingly describes the social media world in which today’s children
are living as one in which the social media conglomerates, including TikTok, push products
which intend to maximize the time spent using the product and shaping the children’s be-
havior. A digital design professional interviewed by SRights Foundation put it this way —

“companies make their money from attention. Reducing attention will reduce revenue.”

60. As one digital design professional included in the Pathways report declared: “ [t]here are

no safety standards — there is no ethics board in the digital space.”

61. . From the outset, the TikTok Defendants have intentionally designed their products to max-
imize the time children spend on TikTok. The TikTok Defendants have been well aware
of the risks identified in these (and many other) reports for years and know full well that

these reports correctly identify serious safety hazards and concerns with their respective

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products, Nevertheless, the TikTok Defendants failed to take any significant action to cor-

rect any of the risks and safety hazards identified and known to them.

Social media giants like TikTok have seized the opportunity presented by the digital wild

west to manipulate and control the behavior of vulnerable children.

The TikTok Defendants have intentionally and deliberately failed to make economically
and technologically feasible design changes in TikTok to prevent young children from cre-
ating TikTok accounts, to make TikTok safe for young children, to protect young users
from addiction to TikTok, to prevent its algorithm for presenting dangerous challenges to
children (including the Blackout Challenge), and to stop manipulating vulnerable children
into engaging in dangerous behaviors like choking themselves until they pass out which

often causes serious injury or even death.

C. The TikTok Defendants Know Their Defective Algorithm Virally Spreads
Dangerous and Deadly TikTok Challenges That Kill Children

Atall relevant times, the TikTok App contained an algorithm designed to promote TikTok
challenges to young users to increase their engagement and increase TikTok’s profits.
TikTok challenges involve users filming themselves engaging in behavior that mimics
and often times “one -ups” other users posting videos engaging in the same or similar
conduct. These TikTok Challenges routinely involve dangerous or risky conduct. The
TikTok algorithm presents these often dangerous challenges to users on their For You
Page and encourages users to create, share, and participate in the challenge.

TikTok’s app and algorithm have caused numerous dangerous TikTok challenges to
spread virally on TikTok. Some of the dangerous and deadly TikTok challenges include

the following:

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> Fire Mirror Challenge

involves participants spraying shapes on
their mirror with a flammable liquid and
then setting fire to it.

> Orbeez Shooting Challenge

involves participants. shooting random
strangers with tiny water-absorbent polymer
beads using gel blaster guns

> Penny Challenge

involves sliding a penny behind a partially
plugged-in phone charger

> Benadryl Challenge

involves consuming a dangerous amount of
Benadryl in order to achieve hallucinogenic
effects

> Skull Breaker Challenge

involves users jumping in the air while
friends kick their feet out from underneath
them, causing the users to flip in the air and
fall back on their head

> Cha-Cha Slide Challenge

involves users swerving their vehicles all
over the road to the famous song by the
same name

> Dry Scoop Challenge

involves users ingesting a heaping scoop of
undiluted supplemental energy powder

> Nyquil Chicken Challenge

involves soaking chicken breast in cough
medicine like Nyquil and cooking it, boiling
off the water and alcohol in it and leaving
the chicken saturated with a highly concen-
trated amount of drugs in the meat

> Tooth Filing Challenge

involves users filing down their teeth with a
nail file

> Fax Wax Challenge

involves users covering their entire face, in-
cluding their eyes, with hot wax before rip-
ping it off

> Coronavirus Challenge

involves users licking random items and sur-
faces in public during the midst of the global
COVID-19 pandemic

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> Scalp Popping Challenge

involves users twisting a piece of hair on the
crown of someone's head around their fin-
gers and pulling upward, creating a “pop-
ping” effect on their scalp

> Cinnamon Challenge

involves users consuming dangerously large
amounts of cinnamon with the aim of
achieving an intoxicating high

> Throw it in the Air Challenge

involves users standing in a circle looking
down at a cellphone on the ground as some-
one throws an object into the air, and the
goal is to not flinch as you watch the object
fall on one of the participant’s heads

> Corn Cob Challenge

involves users attaching a corn cob to a
power drill and attempting to each the corn
as it spins

> Gorilla Glue Challenge

involves users using a strong adhesive to
stick objects to themselves

> Kiki Challenge

involves users getting out of moving vehi-
cles to dance alongside in the roadway

> Salt and Ice Challenge

involves users putting salt on their skin and
then holding an ice cube on the spot for as
long as possible, creating a chemical reac-
tion that causes pain and can lead to burns

> Snorting Challenge

involves users snorting an entire latex con-
dom into their nose before pulling it out of
their mouth

> Hot Water Challenge

involves users pouring boiling hot water on
someone else

> Fire Challenge

involves users dousing themselves in a
flammable liquid and then lighting them-
selves on fire

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> Milk Crate Challenge involves participants stacking a mountain of
milk crates and attempting to ascend and de-
scend the unstable structure without falling

> Water Bottle Chug Challenge Involves participants drinking an entire bot-
tle of water in one second

66. One of the deadliest TikTok Challenges is the Blackout Challenge, which encourages users to

choke themselves with belts, purse strings, or anything similar until passing out.

67. Upon information and belief, 13-year-old 1.G. died from attempting the Blackout Challenge.
LG. attempted the challenge because the TikTok Defendants’ product defects and negligence
(as alleged herein) allowed I.G. and some of his friends to be on TikTok without adequate
age verification, parental controls, warnings, time use restrictions (and other safeguards)
and thus receive the Blackout Challenge on their For You Page and begin daring each other

to do it.

68. . The TikTok Defendants have long known that the Blackout Challenge and other dangerous
challenges run rampant on TikTok as a result of their defective algorithms, but they have
intentionally failed to correct the product defects alleged herein or reform their grossly

negligent conduct.

69. Tragically, 1.G. is just one of many in a growing list of children killed as a result of the
TikTok Defendants’ negligence and dangerously defective product.
70. On January 21, 2021, a 10-year-old girl in Italy died after attempting the Blackout Chal-

lenge. According to Italian news reports, she tied a belt around her neck and choked

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herself, causing her to go into cardiac arrest. She was rushed to the hospital but was
declared braindead upon arrival and ultimately died.

On February 26, 2021, 9-year-old A.A. accidentally hung herself with the family dog
leash affixed to the back of her bedroom door while attempting the Blackout Challenge.
Her parents are now suing the TikTok Defendants in California.

On July 15, 2021, 8-year-old L.W. accidentally hung herself with a rope tied to her bed
while attempting the Blackout Challenge. Her mother is now suing the T. ikTok Defend-
ants in California.

On March 22, 2021, a 12-year-old boy, J.H, died after attempting the Blackout Challenge.
He was discovered breathless and unconscious by his twin brother and ultimately died
after 19 days on life support. J.H. attempted the Blackout Challenge by choking himself

with a shoelace.

On June 14, 2021, a 14-year-old boy died in Australia while attempting to take part in Tik-
Tok’s Blackout Challenge.

In July 2021, a 12-year-old boy died in Oklahoma while attempting the Blackout Chal-
lenge.

On December 7, 2021, 10-year-old N.A. from Chester, Pennsylvania excruciatingly died
by asphyxiation when she attempted to perform the Blackout Challenge.

The TikTok Defendants unquestionably knew that the deadly Blackout Challenge was
spreading virally through its app and causing the unnecessary accidental deaths of chil-
dren all over the world.

The TikTok Defendants knew or should have known that failing to take immediate and

significant action to correct the dangerous product defects in TikTok and to reform their

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outrageous, willful, and wanton conduct would result in more injuries and deaths, espe-
cially among children, as a result of their users attempting the viral challenge.

The TikTok Defendants knew or should have known that a failure to take immediate and
significant corrective action would result in an unreasonable and unacceptable tisk that ad-

ditional users, and additional children, would fall victim to the deadly Blackout Challenge.

The TikTok Defendants have failed to correct the dangerous defects in their product and
have failed to reform their conduct because (1) they believe they can shirk legal responsi-
bility for causing the death of young children, including 1.G., by claiming immunity for
their morally bankrupt behavior; (2) they know that allowing outrageous, dangerous and
deadly challenges to be presented to children users by TikTok’s defective algorithms in-
creases the user engagement of children on TikTok; (3) they know that more user engage-
ment of children means they get to collect more data on children users of TikTok; and (4)
they know that the collection of more data on children increases their ability to sell adver-
tising to companies wishing to target advertising those same children. In other words, the

TikTok Defendants knowingly profit from a business model that causes children’s deaths.

In other similar litigation, TikTok Defendants claim that they have absolute immunity from

legal responsibility for their outrageous conduct and dangerously defective products.

In their view, the TikTok Defendants are free to knowingly put their dangerously defective
product in the hands of children (without requiring age verification, parental controls, use
restrictions, warnings, reprogramming of their algorithm, or any other safeguards) because
they claim it is within their rights to knowingly create a dangerously defective algorithm

which determines and presents (via computer programming) videos of people choking

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themselves until they pass out to children because its algorithm has concluded such videos

are well-tailored and likely to be of interest to children 13 years of age and younger.

The TikTok Defendants’ legal argument will miss the mark in this case. Here, Plaintiffs
seek to hold the TikTok Defendants legally accountable — not for making publishing de-
cisions about what third party content to allow on its website — but rather for knowingly
putting a dangerously defective product (the TikTok app and algorithm) in the hands of
children without including even the most basic safeguards such as requiring age verifica-
tion, parental controls, use restrictions, algorithm reprograming, or providing any warnings
of the known and foreseeable risks and dangers arising from allowing children to use Tik-

Tok.

D. The TikTok Defendants’ Negligence And Their Dangerously Defective.
Product Encouraged 1.G. To Engage In The Dangerous Behavior That
Resulted in I.G.’s Death.

LG. was born on October 16, 2006. He was a happy, fun loving, and active boy with a

good sense of humor. He enjoyed playing basketball, computer games, and fishing.

When I.G. was approximately eleven years old, he got his first smart phone. Not long after

getting his smart phone, I.G. created a TikTok account and began using TikTok.

When LG. created his first TikTok account, the TikTok Defendants did not require him to
provide any form of age verification that involved TikTok validating or otherwise ensuring
accurate verification of age, nor did the TikTok Defendants require him to obtain parental
approval or have any parental controls over his use of TikTok. After 1.G. began using

TikTok, he would often be on TikTok for hours at a time.

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Over time, and because of the addictive design and defective features of TikTok (as alleged

_ herein), LG. developed the habit of using TikTok at night while laying in bed. He would

stay up at all hours of the night (and sometimes into the following morning) using TikTok.
1.G.’s compulsive use of TikTok, at times, caused him to become sleep deprived and even

altered his mental state and cognitive abilities.

Upon information and belief, through the use of the TikTok app and algorithm, the TikTok
Defendants presented 1.G. and many of his friends with various TikTok challenges, includ-
ing the TikTok Blackout Challenge. I.G. and his friends thought the challenges were in-
teresting and funny. Upon information and belief, the TikTok challenges presented on
LG.’s For You Page included, among others, the Cinnamon Challenge, the Water Bottle
Chug challenge, the Blackout Challenge, and potentially many others. In the year preced-
ing his death, 1G. attempted the Cinnamon Challenge and the Water Bottle Chug Chal-

lenge.

Upon information and belief, 1.G. and his teenage friends may have even dared or chal-

lenged each other to try the challenges TikTok presented on their For You Pages.

Upon information and belief, sometime during the early morning hours of August 19, 2020,
after staying up late into the night of August 18 and into the morning hours of August 19,
while in a sleep deprived and altered mental state, I.G. did in fact attempt the TikTok
Blackout Challenge. Tragically, however, rather than waking up after choking himself and

passing out, I.G. did not survive the challenge. Instead, he died by hanging at age 13.

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E. Plaintiffs’ Claims Against the TikTok Defendants Are Not Subject to
Any Enforceable Arbitration Clause and Do Not Implicate Section 230
of the CDA.

TikTok has Terms of Service which contain arbitration clauses. I.G. died before he reached
the age of majority under New Mexico law. As such, the Terms of Service, including any
arbitration clauses, were not enforceable against I.G. and are not enforceable against either
his wrongful death estate, M.G., A.G., or E.A. Plaintiffs specifically disaffirm any and all
Terms of Service agreements with the TikTok Defendants into which 1.G. may have en-

tered.

Plaintiffs are suing the TikTok Defendants in their capacities as the owners, designers,

developers, programmers, manufacturers, sellers, suppliers, distributors of their danger-

ously defective product, TikTok.

None of Plaintiffs’ causes of action against TikTok seek to treat TikTok as the publisher

or speaker of information or content posted by a third party on TikTok.

None of Plaintiffs’ causes of action against TikTok seek to fault TikTok for any infor-

mation or content posted on TikTok by a third party.

The TikTok Defendants could have corrected the product defects alleged herein without
altering any information or content posted on or messaged through T ikTok. Likewise, Tik-
Tok could have acted reasonably under the circumstances alleged herein without altering

any information or content posted on or messaged through T ikTok.

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CLAIMS AGAINST THE TIKTOK DEFENDANTS
(BY ALL PLAINTIFES)
COUNT I- STRICT LIABILITY
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

TikTok is a product for purposes of New Mexico product liability law. The TikTok Terms
of Service specifically refer to the TikTok “Platform and our related websites, services,
applications, products, .. .” Terms of Service at paragraph 2. The TikTok Defendants
designed, manufactured, marketed, sold, and distributed its TikTok product to 1.G. in New
Mexico, and I.G. used the TikTok product in New Mexico exactly as it was designed and

intended to be used by the TikTok Defendants.

TikTok poses an unreasonable risk of injury and death to its users, especially its teen and
pre-teen users, and is unreasonably dangerous to its intended users because of one or more
design defects. Specifically, at all relevant times, TikTok was (and is) defective and unrea-

sonably dangerous, as designed, because TikTok:

a. was (and is) designed to create and sustain the addiction of TikTok users, especially
vulnerable minor children, and to manipulate them into engaging in dangerous be-
haviors such as maximum TikTok use, all night TikTok use, and participating in
dangerous and deadly challenges, including but not limited to the Blackout Chal-

lenge;

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b. was (and is) designed and marketed for unsupervised use by minor children without
containing all necessary and adequate safety features to protect children like LG.

and thereby preyed upon the vulnerability of children;

c. was (and is) not safe for its intended and represented purposes but rather is unrea-
sonably dangerous for its intended and foreseeable uses and/or misuses because it

lacked all necessary safety features to protect users, including 1.G.;

d. did not (and does not) require age verification of TikTok users before the creation

and use of a TikTok account in order to protect children,

e. did not (and does not) contain adequate parental control systems or mechanisms to

restrict or reduce TikTok use by children,

f. did not (and does not) contain adequate parental notification systems to restrict or

reduce TikTok use by children;

g. did not (and does not) limit and/or prohibit minor children from using TikTok dur-

ing regular homework and sleeping hours,

h. contained (and contains) reward and incentive features such as “likes”, “hearts”,
“notifications”, “reminders”, and “direct messaging” to manipulate, control and en-
courage minor children to engage in dangerous behaviors like all night TikTok use

and participating in the Blackout Challenge;

i. contained (and contains) notification and reminder features to remind and encour-

age children to use TikTok again and again at all hours of the day and night and to

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manipulate children into engaging in dangerous behaviors including excessive Tik-

Tok use and participating in the Blackout Challenge,

j. was (and is) designed with an algorithm programmed to determine (or that mal-
functioned and determined) that Blackout Challenge videos of individuals choking
themselves until passing out were well-tailored and likely to be of interest to 13-
year old I.G. and many other children and purposefully selected and presented those
Blackout Challenge videos to the For You Pages of 13-year old .G. and many other
children in order to manipulate and encourage them to engage in dangerous and

deadly behaviors like the Blackout Challenge;

k. was (and is) designed with an algorithm that is not integrated with age verification,
parental monitoring & notification, use restriction, and other similar protections for
minor children such as I.G. and lacks the ability to determine that Blackout Chal-
lenge videos of individuals choking themselves until passing out are not appropriate
for and should not be selected and presented to the For You Page of 13-year old

LG. or any other all other children;

Each of the above design features, included in or omitted from the design of the TikTok
product, constitute separate product defects. Each separate product defect, singularly or
collectively, failed to protect and/or manipulated and encouraged minor children, including
I. G,, to engage in the dangerous the behaviors of (1) using TikTok for too many hours
each day and/or using TikTok during regular sleeping hours (which results in sleep depri-

vation and an altered mental state), and (2) attempting the Blackout Challenge to choke

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himself until he passed out which, in this particular case, tragically resulted in I.G. acci-

dentally hanging himself to death in the early morning hours of August 19, 2020.

The TikTok Defendants failed to carefully assess the risks of its product and failed to in-
clude numerous economically and technologically feasible design alternatives which
would have protected I.G. and other children and would have prevented 1.G.’s death. These
economically and technologically feasible design alternatives include adequate age verifi-
cation, parental control & notification systems, use restrictions during regular homework
and sleeping hours, the elimination or reduction of addicting features, and the modification
/ reprogramming / integration of the TikTok algorithm to with age verification, parental
monitoring & notification, use restriction, and other similar protections for minor children
such as LG. to enable the algorithm to determine that Blackout Challenge videos of indi-
viduals choking themselves until passing out are not appropriate for and should not be
selected and presented to the For You Page of 13-year old I.G. or any other children. None
of these design alternatives would require TikTok to modify or alter any content on the

TikTok application.
The design defects of TikTok:

a. caused 1G. to use TikTok for too many hours each day and/or to use it during the
night when he should have been sleeping, causing sleep deprivation and an altered

mental state, and

b. were producing causes of the harm to and the accidental death of 1.G.

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The unreasonably dangerous characteristics of TikTok are and have been known to the
TikTok Defendants but were unknown to minor children like 1G. and his parents, M.G.

and A.G,

In addition to the design defects, TikTok poses an unreasonable risk of injury and death to
its users and is unreasonably dangerous to its intended users because of the TikTok De-
fendants’ failure to give adequate warnings of the known risks of TikTok, including fore-
seeable mental and physical injuries alleged herein, including death, posed by TikTok use
when some or all such risks could be avoided by giving an adequate warning of such risks.
The risks of TikTok were well known to the TikTok Defendants but unknown to minor

children like I.G. and his parents, M.G. and A.G.

The TikTok Defendants’ failure to warn of known risks of TikTok use (including that ad- :
dictive or compulsive use of TikTok can cause physical and mental injuries such as anxiety,
depression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide, par-
ticipation in dangerous behaviors and even death from attempting TikTok challenges) was

a producing cause of the harm to and the death of LG.

The harm to 1.G. of which the product defects were a producing cause includes:
a. addiction;
b. sleep deprivation and altered mental state;
c. physical and mental pain and suffering;

d. emotional distress; and

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e. accidental death.

The product defects of TikTok manipulated, encouraged, and induced I.G. to use TikTok
excessively during regular sleeping hours and to attempt the Blackout Challenge which

resulted in and caused I.G.’s pain and suffering, emotional distress, and death.

COUNT I - NEGLIGENCE
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

As the owners, designer, manufacturer, marketer, and distributor of TikTok, the TikTok
Defendants owe TikTok users, especially the minor children that TikTok knowingly per-
mits to create TikTok accounts and use TikTok, the duty to use ordinary care in designing,

manufacturing, testing, marketing, distributing, and operating TikTok.

The TikTok Defendants have breached their duty of ordinary care in designing, manufac-

turing, testing, marketing, distributing, and operating TikTok by:

a. designing TikTok to create and sustain user addiction in children by including in

its design the defective features alleged in Count I;

b. failing to consider foreseeable risk of injuries and death to minor children, specifi-
cally encouraging children to engage in dangerous behaviors such as choking them-

selves until passing out in order to receive rewards such as likes and hearts;

c. allowing minor children to use TikTok, or alternatively, failing to provide for rea-

sonable parental controls over the use of TikTok by their minor children;

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d. allowing addictive, compulsive use of TikTok by minor users, or alternatively, fail-

ing to impose safe limits on such use;

e. failing to implement reasonable safeguards to identify minor children and prevent

addictive, compulsive use by such minor children

f. failing to include all necessary safety features in the design of its product (as alleged
in Count I) to protect users, including I.G., from the risks and hazards of TikTok
including the risks that addictive or compulsive use of TikTok can cause physical
and mental injuries such as anxiety, depression, eating disorders, sleep deprivation,

self-harm, suicidal ideation, suicide, and death from attempting TikTok challenges;

g. failing to make economically and technologically feasible design changes to its
product (as alleged in Count I) to protect users, including L.G., from the risks and
hazards of TikTok including the risks that addictive or compulsive use of TikTok
can cause physical and mental injuries such as anxiety, depression, eating disorders,
sleep deprivation, self-harm, suicidal ideation, suicide, and death from attempting

TikTok challenges;

h. failing to warn users, including minor children and their parents, about the risks
attendant to addictive, compulsive use of TikTok (including that addictive or com- —
pulsive use of TikTok can cause physical and mental injuries such as anxiety, de-
pression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide,

and death from attempting TikTok challenges); and

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concealing from users, including minor children and their parents, known risks at-
tendant to the addictive, compulsive use of TikTok (including that addictive or
compulsive use of TikTok can cause physical and mental injuries such as anxiety,
depression, eating disorders, sleep deprivation, self-harm, suicidal ideation, suicide,

and death from attempting TikTok challenges);

failing to instruct users, including minor children and their parents, on how to safely
use TikTok in order to adequately inform minor children and their parents about
the risks of TikTok use and how to avoid the dangers and risks the TikTok knew
about but failed to disclose (including that addictive or compulsive use of TikTok
can cause physical and mental injuries such as anxiety, depression, eating disorders,
sleep deprivation, self-harm, suicidal ideation, suicide, and death from attempting

TikTok challenges);

The TikTok Defendants’ failure to use ordinary care as pleaded above constitutes

negligence.

The TikTok Defendants’ acts and omissions constituting negligence, whether singularly or

in combination:

a.

b.

Cc.

caused LG. to be addicted to TikTok and to use it compulsively,
induced LG. to attempt the TikTok blackout challenge; and

was a proximate cause of the harm to and the death of 1.G..

The harm to I.G. of which TikTok’s negligence were a proximate cause includes:

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a. addiction;

b. sleep deprivation and altered mental state;
c. physical and mental pain and suffering;

d. emotional distress; and

e. death.

TikTok’s negligence induced I.G. to attempt the TikTok blackout challenge which resulted

in and caused 1.G.’s pain and suffering, emotional distress, and death.

COUNT III - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

The TikTok Defendants intentionally designed and operated TikTok to create and sustain

addiction and to facilitate known harmful use of TikTok by underage users.

The TikTok Defendants intentionally created and sustained addiction to TikTok to advance

their objective of increasing advertising revenues.

The TikTok Defendants failed to warn users, minor children using TikTok and their par-

ents, of known risks posed by the addictive, compulsive use of TikTok.

The TikTok Defendants intentionally made material misrepresentations concerning the risk
of harm posed by TikTok use and failed to disclose known facts and information concern-

ing such risks of harm.

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The TikTok Defendants are guilty of intentionally inflicting emotional distress on L.G. be-

cause:

a. TikTok Defendants’ conduct was extreme and outrageous;

b. the TikTok Defendants acted intentionally to cause severe emotional distress in
minor children using TikTok such as I.G. or, alternatively, the TikTok Defendants’
conduct was reckless because the TikTok Defendants acted intentionally with utter
indifference to or conscious disregard for the rights and safety of minor children
using Instagram such as L.G.; and

c. as a result of the TikTok Defendants, conduct, I.G. experienced severe emotional

distress.

The conduct of the TikTok Defendants in designing and operating TikTok to create and
sustain addiction and to encourage addictive, compulsive use of their product was and is

extreme and outrageous because if goes beyond the bounds of common decency.

The conduct of the TikTok Defendants in misrepresenting the risk of harm posed by Tik-
Tok and failing to disclose known facts and information concerning such risks of harm
from addictive, compulsive use of TikTok was and is extreme and outrageous because if

goes beyond the bounds of common decency.

LG.’s emotional distress caused by the TikTok Defendants was severe because it was of

such intensity and duration that no ordinary person would be expected to tolerate it.

The TikTok Defendants engaged in such extreme and outrageous conduct either intention-

ally to cause severe emotional distress in its users or recklessly with utter indifference to

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or conscious disregard for the safety of TikTok users.

The TikTok Defendants’ extreme and outrageous conduct induced 1G. to.attempt the Tik-
Tok blackout challenge and was a proximate cause of I.G.’s pain and suffering, mental

anguish, and death.

COUNT IV - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
(E.A. AGAINST THE TIKTOK DEFENDANTS)

Plaintiff E.A. re-alleges and incorporates by reference all previ ous paragraphs of this Com-
plaint as though set forth fully herein.
Plaintiff E.A. had a close family relationship with IG. E.A. was 1.G.’s grandmother, and
she loved him dearly. E.A. and I.G. loved one another and enj oyed spending time together.
E.A. saw and observed how of the TikTok Defendants’ dangerously defective product and
negligence manipulated and encouraged 1.G. to participate in the dangerous and deadly
behaviors such as late night or all night TikTok use and the participation in the Blackout
Challenge.
On the morning of August 19, 2020, E.A. helped get LG. off the bathroom door and low-
ered him to her floor. She touched his body and listened for signs of life. She heard a
LG_’s faint heartbeat after getting him on the floor and attempted to resuscitate 1G. by
performing CPR. E.A. held LG. in her arms as he died on August 19, 2020. E.A. suffered
severe emotional distress as a result of seeing and observing I.G.’s death on the morming
of August 19, 2020.
The TikTok Defendants breached their duty of ordinary care to 1.G. and caused 1.G.’s death
for all the reasons previously alleged in Plaintiffs’ Counts I through III of this Complaint

against the TikTok Defendants. The TikTok Defendants’ breach of their duty of care was

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a proximate cause of the severe emotional distress B.A. suffered as a result of seeing and

observing 1.G.’s death on the morning of August 19, 2020.

COUNT V - WRONGFUL DEATH
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

The tortious and wrongful acts and omissions of all Defendants resulted in the death of LG.
as pleaded above. Accordingly, all Defendants are liable to I.G.’s wrongful death estate

under NMSA §§ 41-2-1 and 41-2-3.

COUNT VI- LOSS OF CONSORTIUM
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

A.G. and MG. are I.G.’s parents, and they had a close and mutually dependent relationship
with LG.. E.A. is L.G.’s grandmother, and she had a close and mutually dependent relation-
ship with LG.. LG.’s suffering and wrongful death has caused A.G., M.G., and E.A. to
suffer severe emotional distress due to the loss of society and companionship they enjoyed

with LG.

A.G., MG., and E.A. seek recovery of all damages recoverable under New Mexico from

the TikTok Defendants for their respective claims for loss of consortium.

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COMPENSATORY DAMAGES
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

Plaintiffs request judgment against the TikTok Defendants for all compensable injuries,

including, without being limited to, the following:

a. 1.G.’s physical, mental. and emotional pain and suffering;
b. 1.G.’s enjoyment of life;

C. LG.’s medical expenses;

d. Wrongful death damages as allowed by NMSA § 41-2-3;
e. Loss of consortium sustained by A.G. M.G., E.A;

f. Costs;

g. Interest as allowed by law; and

h. Any other relief which the Court deems just and proper.

PUNITIVE DAMAMGES
Plaintiffs re-allege and incorporate by reference all previous paragraphs of this Complaint

as though set forth fully herein.

The acts and omissions of the TikTok Defendants which resulted in harm to Plaintiffs as

pleaded above were malicious, reckless, willful, wanton, oppressive, and/or fraudulent.

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Accordingly, Plaintiffs seek recovery of punitive damages in addiction to compensatory

damages as allowed by New Mexico law.

JURY DEMAND

138. Plaintiffs hereby demand a trial by jury.

WHEREFORE, Plaintiffs pray for judgment against the TikTok Defendants for compen-

satory and punitive damages, for interest on their damages as allowed by law, for costs, and for all

just relief.

DATED: August 9, 2022.

COMPLAINT

Respectfully submitted,
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